Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 1 of 77 PageID: 240
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 2 of 77 PageID: 241
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 3 of 77 PageID: 242
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 4 of 77 PageID: 243
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 5 of 77 PageID: 244
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 6 of 77 PageID: 245
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 7 of 77 PageID: 246
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 8 of 77 PageID: 247
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 9 of 77 PageID: 248
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 10 of 77 PageID: 249
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 11 of 77 PageID: 250
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 12 of 77 PageID: 251
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 13 of 77 PageID: 252
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 14 of 77 PageID: 253
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 15 of 77 PageID: 254
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 16 of 77 PageID: 255
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 17 of 77 PageID: 256
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 18 of 77 PageID: 257
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 19 of 77 PageID: 258
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 20 of 77 PageID: 259
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 21 of 77 PageID: 260
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 22 of 77 PageID: 261
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 23 of 77 PageID: 262
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 24 of 77 PageID: 263
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 25 of 77 PageID: 264
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 26 of 77 PageID: 265
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 27 of 77 PageID: 266
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 28 of 77 PageID: 267
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 29 of 77 PageID: 268
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 30 of 77 PageID: 269
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 31 of 77 PageID: 270
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 32 of 77 PageID: 271
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 33 of 77 PageID: 272
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 34 of 77 PageID: 273
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 35 of 77 PageID: 274
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 36 of 77 PageID: 275
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 37 of 77 PageID: 276
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 38 of 77 PageID: 277
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 39 of 77 PageID: 278
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 40 of 77 PageID: 279
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 41 of 77 PageID: 280
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 42 of 77 PageID: 281
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 43 of 77 PageID: 282
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 44 of 77 PageID: 283
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 45 of 77 PageID: 284
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 46 of 77 PageID: 285
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 47 of 77 PageID: 286
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 48 of 77 PageID: 287
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 49 of 77 PageID: 288
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 50 of 77 PageID: 289
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 51 of 77 PageID: 290
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 52 of 77 PageID: 291
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 53 of 77 PageID: 292
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 54 of 77 PageID: 293
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 55 of 77 PageID: 294
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 56 of 77 PageID: 295
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 57 of 77 PageID: 296
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 58 of 77 PageID: 297
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 59 of 77 PageID: 298
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 60 of 77 PageID: 299
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 61 of 77 PageID: 300
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 62 of 77 PageID: 301
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 63 of 77 PageID: 302
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 64 of 77 PageID: 303
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 65 of 77 PageID: 304
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 66 of 77 PageID: 305
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 67 of 77 PageID: 306
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 68 of 77 PageID: 307
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 69 of 77 PageID: 308
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 70 of 77 PageID: 309
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 71 of 77 PageID: 310
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 72 of 77 PageID: 311
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 73 of 77 PageID: 312
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 74 of 77 PageID: 313
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 75 of 77 PageID: 314
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 76 of 77 PageID: 315
Case 2:18-cv-00650-SDW-LDW Document 17-3 Filed 01/26/18 Page 77 of 77 PageID: 316
